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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  UNITED STATES OF AMERICA, and                 :      Civil Action No. 21-cv-5578
  COMMONWEALTH OF                               :
  PENNSYLVANIA, DEPARTMENT OF                   :
  ENVIRONMENTAL PROTECTION                      :
                                                :
                         Plaintiffs,            :
                                                :
                 v.                             :
                                                :
  BUCKS COUNTY WATER AND                        :
  SEWER AUTHORITY,                              :
                                                :
                         Defendant.             :


                                          COMPLAINT

       Plaintiffs, the United States of America, by the authority of the Attorney General of the

United States and through the undersigned attorneys, acting at the request and on behalf of the

United States Environmental Protection Agency (“EPA”), and the Commonwealth of

Pennsylvania, Department of Environmental Protection (“Commonwealth,” “PADEP”, or “the

department”) (collectively “Plaintiffs”), allege as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action for injunctive relief and civil penalties brought against the

Bucks County Water and Sewer Authority (“BCWSA” or “the Authority”) pursuant to Sections

309(b) and (d) of the federal Clean Water Act (“CWA”), 33 U.S.C. § 1319(b) and (d), the

Pennsylvania Clean Streams Law, Act of June 22, 1937, P.L. 1987, as amended, 35 P.S.

§§ 691.1-691.1001 (“Clean Streams Law”), the Pennsylvania Sewage Facilities Act, Act of

January 24, 1966, P.L. 1535, as amended, 35 P.S. §§ 750.1-750.20a (“Sewage Facilities Act”),
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Section 1917-A of the Administrative Code of 1929, P.L. 177, as amended, 71 P.S. § 510-17

(“Administrative Code”), and the rules and regulations promulgated thereunder, for the

Authority’s illegal discharges of pollutants in violation of Sections 301(a) and 402(a) of the

CWA, 33 U.S.C. §§ 1311(a) and 1342(a) and Sections 3, 201, 202, 401, and 402 the Clean

Streams Law, 35 P.S. §§ 691.3, 691.201, 691.202, 691.401, and 691.402.

                  JURISDICTION, VENUE, NOTICE, AND AUTHORITY

       2.      This Court has jurisdiction over the subject matter of this action pursuant to

Sections 301 and 309(b) and (d)) of the CWA, 33 U.S.C. §§ 1301 and 1319(b) and (d), and 28

U.S.C. §§ 1331, 1345, and 1355.

       3.      This Court has supplemental jurisdiction over Pennsylvania’s state law claims

alleged herein pursuant to 28 U.S.C. § 1367(a) because the state claims are so related to the

federal claims as to form part of the same case or controversy.

       4.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§§ 1391(b) and 1395(a) and Section 309(b) of the CWA, 33 U.S.C. § 1319(b), because it is the

judicial district where the Authority is located and where the alleged violations occurred.

       5.      Notice of the commencement of this action has been provided to the

Commonwealth of Pennsylvania, pursuant to Section 309(b) of the CWA, 33 U.S.C. § 1319(b).

       6.      The Commonwealth has joined in this action in accordance with Section 309(e) of

the CWA, 33 U.S.C. § 1319(e).

       7.      Authority to bring this action is vested in the Attorney General of the United

States under Section 506 of the CWA, 33 U.S.C. § 1366, and 28 U.S.C. §§ 516 and 519.

       8.      PADEP is the state agency that is charged with the duty and the authority to

administer and enforce the Clean Streams Law, Section 1917-A of the Administrative Code, and



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the rules and regulations promulgated thereunder, and which has been authorized to administer

the National Pollutant Discharge Elimination System (“NPDES”) permit program under Section

402 of the Clean Water Act, 33 U.S.C. § 1342. PADEP is a “state water pollution control

agency” and “person” as defined in Section 502(1) and (5) of the Act, 33 U.S.C. § 1362(1) and

(5). The Commonwealth has authority to join in this Complaint, pursuant to Sections 601 and

605 of the Clean Streams Law, 35 P.S. §§ 691.601 and 691.605.

                                          DEFENDANT

       9.      The Authority is a Pennsylvania Municipal Authority created under the

Pennsylvania Municipality Authorities Act of 1945, Act of May 2, 1945, P.L. 382, as amended,

53 Pa.C.S. §§ 5601-5623 (“Municipality Authorities Act”).

       10.     The Authority is a municipal water and sewer authority that provides sewerage

services to municipalities in the Eastern District of Pennsylvania. It is run by a Board of

Directors appointed by the Bucks County Commissioners and acts as a separate legal authority

from the rest of the Bucks County government.

       11.     The Authority exists under the laws of the Commonwealth of Pennsylvania with

its office located at 1275 Almshouse Road, Bucks County, Warrington, Pennsylvania 18976.

       12.     Defendant is a “person” within the meaning of CWA § 502(5), 33 U.S.C.

§ 1362(5), and Section 1 of the Clean Streams Law, 35 P.S. § 691.1, and a “municipality” within

the meaning of Section 502(4) of the Act, 33 U.S.C. § 1362(4) and Section 1 of the Clean

Streams Law, 35 P.S. § 691.1.




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                     STATUTORY AND REGULATORY BACKGROUND

        13.     The CWA is a comprehensive statute designed “to restore and maintain the

chemical, physical, and biological integrity of the Nation’s waters.” Section 101(a) of the

CWA, 33 U.S.C. § 1251(a). To achieve that goal, Section 301(a) of the CWA, 33 U.S.C.

§ 1311(a), prohibits the “discharge of pollutants” except as in compliance with an NPDES permit

issued by the EPA or an authorized state pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.

        14.     The CWA defines the phrase “discharge of pollutants” to include “any addition of

any pollutant to navigable waters from any point source.” Section 502(12) of the CWA, 33

U.S.C. § 1362(12).

        15.     “Navigable waters” means “the waters of the United States.” 33 U.S.C.

§ 1362(7). In turn, “waters of the United States” has been defined to include, inter alia: (i) all

waters which are currently used, were used in the past, or may be susceptible to use in interstate

or foreign commerce; (ii) all interstate waters; and (iii) tributaries to such waters. See, e.g., 40

C.F.R. §§ 122.2 (1993).

        16.     “Pollutant” within the meaning of the CWA includes “solid waste . . . sewage,

garbage, sewage sludge . . . biological materials . . . and . . . industrial, municipal, and

agricultural waste discharged into water.” Section 502(6) of the CWA, 33 U.S.C. § 1362(6).

        17.     The CWA defines the term “point source” to mean “any discernible, confined and

discrete conveyance, including but not limited to any pipe, ditch, channel, tunnel, conduit . . .

from which pollutants are or may be discharged.” Section 502(14) of the CWA, 33 U.S.C.

§ 1362(14).




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        18.    Section 402(a) of the Act, 33 U.S.C. § 1342(a), provides that the Administrator of

the EPA may issue NPDES permits to authorize the discharge of pollutants into waters of the

United States, subject to the conditions and limitations set forth in such permits.

        19.    Section 402(b) of the Act, 33. U.S.C. § 1342(b), provides that a state may

establish its own permit program, and after receiving EPA’s authorization of that program, may

issue NPDES permits within its jurisdiction.

        20.    On or about July 1, 1978, the Administrator of EPA authorized the

Commonwealth to issue NPDES permits in Pennsylvania under the CWA, and the

Commonwealth, through PADEP, does so in accordance with its Clean Streams Law, 35 P.S.

§ 691.1 et seq. The Commonwealth’s authority to issue such permits, pursuant to Section 402(b)

of the CWA, 33 U.S.C. § 1342(b), has been in effect at all times relevant to this Complaint.

        21.    EPA retains concurrent enforcement authority pursuant to Section 402(i) of the

Act, 33 U.S.C. § 1342(i).

       22.     Section 309(b) of the CWA, 33 U.S.C. § 1319(b), authorizes the EPA to

commence a civil action for appropriate relief, including a permanent or temporary injunction,

when any person violates, among other things, Section 301 of the CWA, 33 U.S.C. § 1311, or

violates any permit condition or limitation implementing such sections in a NPDES permit

issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342.

       23.     Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, 28

U.S.C. § 2461 note (Pub. L. 101-410), as amended by the Debt Collection Improvement Act of

1996, 31 U.S.C. § 3701 note (Pub. L. 104-134, Sec. 31001(s)), and the Federal Civil Penalties

Inflation Adjustment Act Improvements Act of 2015, 28 U.S.C. § 2461 note (Pub. L.114-74,

Section 701)) as reflected in the Civil Monetary Penalty Inflation Adjustment Rule, 40 C.F.R.



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Part 19, EPA may seek civil penalties of up to $32,500 per day for each violation occurring

between April 1, 2008 and January 11, 2009, of up to $37,500 per day for each violation

occurring after January 12, 2009 and through November 2, 2015, and up to $54,833 per day

where penalties are assessed on or after January 15, 2019, pursuant to CWA section 309(d), 33

U.S.C. § 1319(d), and 40 C.F.R. § 19.4; and for civil penalties of up to $10,000 per day for such

Clean Streams Law violations, pursuant to Section 605 of the Clean Streams Law, 35 P.S.

§ 691.605.

       24.     As to the Commonwealth, Section 3 of the Clean Streams Law, 35 P.S. § 691.3

provides that it is against public policy and it is a public nuisance to discharge sewage into

waters of the Commonwealth, which causes or contributes to pollution or causes a danger of

pollution.

       25.     Sections 201 and 202 of the Clean Streams Law, 35 P.S. §§ 691.201 and 691.202,

prohibit the discharge of sewage by any person or municipality into any waters of the

Commonwealth except in compliance with a permit issued under Section 202 of the Clean

Streams Law, 35 P.S. § 691.202.

       26.     Sections 401 and 402 of the Clean Streams Law, 35 P.S. §§ 691.401 and 691.402,

make it unlawful or a nuisance to place anything in a water of the Commonwealth that would

constitute pollution or to conduct an activity that is contrary to a regulation or a permit issued by

the department that is required by the rules and regulations promulgated under the Clean Streams

Law.

       27.     Section 92a.2 of the regulations adopted by the Pennsylvania Environmental

Quality Board, 25 Pa. Code § 92a.2, defines “discharge” as “an addition of any pollutant to

surface waters of this Commonwealth from a point source.”



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        28.    Section 92a.2 of the regulations adopted by the Pennsylvania Environmental

Quality Board, 25 Pa. Code§ 92a.2, defines “pollutant” as “a contaminant or other alteration of

the physical, chemical, biological or radiological integrity of surface water that causes or has the

potential to cause pollution as defined in section 1 of the State Act (35 P. S. § 691.1).”

        29.    Section 1 of the Clean Streams Law, 35 P.S. § 691.1, states that “sewage” “shall

be construed to include any substance that contains any of the waste products or excrementitious

or other discharge from the bodies of human beings or animals.”

        30.    Section 1 of the Clean Streams Law, 35 P.S. § 691.1, states that “[w]aters of the

Commonwealth” “shall be construed to include any and all rivers, streams, creeks, rivulets,

impoundments, ditches, water courses, storm sewers, lakes, dammed water, ponds, springs and

all other bodies or channels of conveyance of surface and underground water, or parts thereof,

whether natural or artificial, within or on the boundaries of this Commonwealth.”

        31.    Section 91.34 of the regulations adopted by the Pennsylvania Environmental

Quality Board, 25 Pa. Code § 91.34, require that persons engaged in the impoundment,

production, processing, transportation, storage, use, application or disposal of pollutants,

including sewage, take necessary measures to prevent those pollutants from directly or indirectly

reaching waters of the Commonwealth.

        32.    Section 92a.9 of the regulations adopted by the Pennsylvania Environmental

Quality Board, 25 Pa. Code § 92a.9, provides that an NPDES permit satisfies the permit

requirement of Sections 202 of the Clean Streams Law, 35 P.S. § 691.202.

        33.    Section 601 of the Clean Streams Law, 35 P.S. § 691.601, provides in pertinent

part:




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                 Any activity or condition declared by this act to be a nuisance or which is
                 otherwise in violation of this act shall be abatable in the manner provided
                 by law or equity for the abatement of public nuisances.

        34.      Section 611 of the Pennsylvania Clean Streams Law, 35 P.S. § 691.611, provides

in pertinent part:

                 It shall be unlawful to fail to comply with any rule or regulation of the
                 department or to fail to comply with any order or permit or licenses of the
                 department, to violate any of the provisions of this act or rules and
                 regulations adopted hereunder, or any order or permit or licenses of the
                 department, to cause air or water pollution, or to hinder, obstruct, prevent
                 or interfere with the department or its personnel in the performance of any
                 duty hereunder or to violate the provisions of 18 Pa. C.S. Section 4903
                 (relating to false swearing) or 4904 (relating to unsworn falsifications to
                 authorities). Any person or municipality engaging in such conduct shall be
                 subject to the provisions of Sections 601, 602, and 605.

        35.      Section 605 of the Clean Streams Law, 35 P.S. § 691.605, provides in pertinent

part:

              In addition to proceeding under any other remedy available at law or equity for
              a violation of provision of this act, rule, regulations, order of the department, or
              condition of any permit issued pursuant to this act, the department, after
              hearing, may assess a civil penalty upon a person or municipality for such
              violation. Such a penalty may be assessed whether or not the violation was
              willful. The civil penalty so assessed shall not exceed ten thousand dollars
              ($10,000) per day for each violation.

        36.      Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14, provides, in pertinent

part, that any discharge of untreated or partially treated sewage to the surface of the ground or

into waters of the Commonwealth, except as approved by the Department under Sections 202 or

207 of the Clean Streams Law, 35 P.S. §§ 691.202 or 691.207, or permitted by local agency

under Section 7.3 of the Sewage Facilities Act, 35 P.S. § 750.7c (regarding permitting of

individual residential spray irrigation systems), constitutes a nuisance and shall be abatable.




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       37.     Section 1917-A of the Administrative Code, 71 P.S. § 510-17, provides, in

pertinent part, that PADEP shall have the power and its duty shall be:

       a) To protect the people of this Commonwealth from unsanitary conditions and
          other nuisances, including any condition which is declared to be a nuisance by
          any law administered by the department;

       b) To cause examination to be made of nuisances, or questions affecting the
          security of life and health, in any locality, and, for that purpose, without fee or
          hindrance, to enter, examine and survey all grounds, vehicles, apartments,
          buildings, and places, within the Commonwealth, and all persons, authorized
          by the department to enter, examine and survey such grounds, vehicles,
          apartments, buildings and places, shall have the powers and authority conferred
          by law upon constables;

       c) To order such nuisances including those detrimental to the public health to be
          abated and removed; [and]

       d) For the purpose of collecting or recovering the expense of the abatement or
          removal of a nuisance, to file a claim, or maintain an action, in such manner as
          may now or hereafter be provided by law, against the owner or occupant of the
          premises upon or from which such nuisance shall have been abated or removed
          by the department.


                                 GENERAL ALLEGATIONS
       38.     At all relevant times, the Authority has owned and/or operated wastewater

treatment plants (“WWTPs”) and their associated separate sanitary sewer systems for the

collection and conveyance of the sewage flows for treatment prior to discharge.

       39.     The Authority operates several hundred miles of sewer pipes. It owns and

operates treatment plants and owns portions of and operates wastewater collection and

conveyance systems that are separate sanitary sewer systems and not combined with the storm

water collection systems, and also conveys flows to other WWTPs, and which serve the citizens

of the following:




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              a. Richland Service Area includes the following municipalities: Richland Township

                 and Richlandtown Borough.

              b. Upper Dublin Service Area includes the following municipalities: Upper Dublin

                 Township and Springfield Township.

              c. New Hope-Solebury Service Area includes the following municipalities: New

                 Hope Borough and Solebury Township.

              d. Central Bucks Service Area includes the following: Plumstead Township,

                 Doylestown Township, Doylestown Borough, New Britain Borough, New Britain

                 Township, Warrington Township, and portions of Buckingham Township and

                 Bedminster Township.

              e. Neshaminy Service Area includes the following municipalities: Middletown

                 Township, Bensalem Township, and Langhorne Borough.

        40.      Some of the foregoing service areas convey flows to WWTPs owned and operated

by other authorities who hold NPDES permits. PADEP has issued BCWSA NPDES Permit

Number PA0021181, on or about June 18, 2014, with an expiration date of June 30, 2019;

NPDES Permit Number PA0021172, on or about December 22, 2014, with an expiration date of

December 31, 2019; NPDES Permit Number PA0051250, on or about April 15, 2013, with an

expiration date of April 30, 2018; and NPDES Permit Number PA0029441, on or about

November 4, 2014, with an expiration date of November 30, 2019 (collectively “NPDES

Permits”). The permits can be found here: https://www.dep.pa.gov/Business/Water/CleanWater/

Pages/Wastewater-Reports.aspx.

        41.      The NPDES Permits have been effective and in substantially the same form since

2008.



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       42.     The Authority’s sanitary sewer systems include gravity sewers, force mains,

pump stations, manholes, other real and personal property, and appurtenances, thereto, designed

to convey sanitary wastewater (including sewage).

       43.     Parts of the BCWSA-owned system conveys wastewater to several wastewater

treatment plants that discharge to the Delaware River and several of its tributaries which are

waters of the United States and waters of the Commonwealth.

       44.     BCWSA’s five service areas have historically all suffered from SSOs. Since

2014, BCWSA service areas have reported SSOs, as detailed in Exhibit 1 attached hereto. Of

those, over 100 have occurred in Plumstead Township. In that timeframe, multiple SSOs have

also occurred in Bensalem, Richland, Doylestown Borough, Middletown, Upper Dublin, and

New Hope/Solebury.

       45.     On June 17, 2008, BCWSA and PADEP entered into a Consent Order and

Agreement (“2008 Consent Order and Agreement”) relating to SSO problems in Plumstead

Township, which is attached as Exhibit 2 hereto. As recited in the 2008 Consent Order and

Agreement, SSOs had been occurring there since at least 2002. As part of its obligations set

forth in the 2008 Consent Order and Agreement, BCWSA paid to PADEP a civil penalty of

$73,000, and agreed to perform certain corrective actions to resolve those specifically identified

violations of the Clean Streams Law, which occurred from May 2002 to February 2008.

       46.     In the 2008 Consent Order and Agreement, BCWSA agreed to eliminate SSOs in

the Plumstead Township sanitary sewer collection system by, among other things, implementing

an inflow and infiltration abatement program and by instituting a corrective action plan that

PADEP had approved. See Exhibit 2 at 3 ¶ 3.




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       47.     BCWSA also agreed to pay stipulated civil penalties into the Commonwealth’s

Clean Water Fund for, among other violations, future SSOs that might occur in areas of

Plumstead Township from June 17, 2008 until eighteen months after BCWSA’s receipt WQM

Permit No. 090408. See Exhibit 2, at 6, ¶ 5.a.2.

       48.     Since the 2008 Consent Order and Agreement became effective, SSOs from the

BCWSA’s sewage system continued to occur in Plumstead Township.

       49.     Pursuant to Section 5.a.2 of the 2008 Consent Order and Agreement, see Exhibit

2, the provision that required BCWSA to pay stipulated civil penalties for SSOs occurring in

Plumstead Township expired on April 2, 2014.

       50.     Pursuant to the 2008 Consent Order and Agreement, BCWSA paid $205,000 of

stipulated civil penalties into the Commonwealth’s Clean Water Fund for specific SSOs

occurring in Plumstead Township from June 17, 2008, until PADEP notified BCWSA on April

2, 2014, of the conclusion of the stipulated penalty period for SSOs.

       51.     PADEP also assessed a civil penalty of $9,797.00, through a separate Consent

Assessment of Civil Penalty, entered into between PADEP and BCWSA on October 18, 2017,

for an SSO from the Big Oak Interceptor, occurring on March 6, 2017, in Middletown Township.

       52.     Despite the requirements of the CWA and the work that BCWSA undertook

pursuant to the 2008 Consent Order and Agreement, over 100 SSOs have occurred in Plumstead

from BCWSA’s sewage systems to waters of the United States and the Commonwealth since

January 1, 2014.

       53.     Sewage, commercial and industrial wastes, and their constituents, are “pollutants”

within the meaning of Section 502(6) of the CWA, 33 U.S.C. § 1362(6) and cause “pollution,” as




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defined by Section 1 of the Clean Streams Law, 35 P.S. § 690.1, when discharged into waters of

the Commonwealth, unless in accordance with a permit.

          54.   The pump stations, force mains, manholes, and other points from which the

pollutants were discharged constitute “point sources” within the meaning of Section 502(14) of

the CWA, Section 33 U.S.C. § 1362(14).

          55.   The NPDES Permits issued to BCWSA and listed in Paragraph 40 do not allow

for SSOs. Part B. I. Management Requirements H. Sanitary Sewer Overflows (SSOs) sites: “An

SSO is an overflow of wastewater, or other untreated discharge from a separate sanitary sewer

system (which is not a combined sewer system), which results from a flow in excess of the

carrying capacity of the system or from some other cause prior to reaching the headworks of the

sewage treatment facility. SSOs are not authorized under this permit. The permittee shall

immediately report any SSO to DEP in accordance with Part A III.C.4 of this permit.”

          56.   BCWSA’s SSOs are a result of multiple causes including, among other things,

excessive infiltration and inflow (“I/I”) and inadequate flow capacity in its collection system to

convey that I/I, as well as other maintenance-related issues.

          57.   SSOs typically contain harmful pollutants including microbial pathogens, oxygen-

depleting substances, an excessive amount of nutrients such as nitrogen and phosphorous, and

toxics.

                                                COUNT I

                                       Sanitary Sewer Overflows

          58.   Paragraphs 1 through 57 are re-alleged and incorporated herein by reference.

          59.   On over 250 different occasions between January 6, 2014 and the present,

BCWSA has discharged untreated sewage and other pollutants from point sources within its



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collection and conveyance systems, including without limitation manholes, pump stations,

and sewer lines. See Exhibit 1. These SSOs are not permitted or otherwise authorized by

Part B.I.H of the NPDES Permits, the CWA, or the Clean Streams Law.

       60.     Upon information and belief, BCWSA continues to discharge pollutants

containing untreated sewage from its separate sanitary sewer collection systems, especially

during periods of wet weather and high flows.

       61.     Each day of such discharge constitutes a separate violation of Section 301(a)

of the CWA, 33 U.S.C. § 1311(a) and of Sections 3, 201, 202, 401, and 402 of the Clean

Streams Law, 35 P.S. §§ 691.3, 691.201, 691.202, 691.401, and 691.402, 25 Pa. Code

§ 91.34; and Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14.

       62.     Pursuant to Sections 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

Sections 601, 605, and 611 of the Clean Streams Law, 35 P.S. §§ 691.601, 691.605, and

691.611, and Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14, BCWSA is liable for

permanent injunctive relief and for civil penalties.

       63.     BCWSA is liable for civil penalties of up to $32,500 per day for each violation

occurring between April 1, 2008 and January 11, 2009, of up to $37,500 per day for each

violation occurring after January 12, 2009 and through November 2, 2015, and up to $54,833 per

day where penalties are assessed on or after January 15, 2019, pursuant to CWA section 309(d),

33 U.S.C. § 1319(d), and 40 C.F.R. § 19.4, and for civil penalties of up to $10,000 per day for

such Clean Streams Law violations, pursuant to Section 605 of the Clean Streams Law, 35 P.S.

§ 691.605.

       64.     Unless enjoined by an order of the Court, BCWSA will continue to discharge

pollutants and/or operate its sewage systems in a manner not authorized by its Permits in



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violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a), and of Sections 3, 201, 202,

401, and 402 of the Clean Streams Law, 35 P.S. §§ 691.3, 691.201, 691.202, 691.401, and

691.402, and Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14, and 25 Pa. Code

§ 91.34.

                                               COUNT II

           Failure to Properly Operate and Maintain BCWSA’s Sanitary Sewer System

       65.     The allegations in the foregoing paragraphs are hereby re-alleged and

incorporated herein.

       66.     BCWSA’s NPDES permits, Water Quality Management permits, the Clean

Streams Law, and the regulations promulgated by the department require BCWSA to

properly operate and maintain all facilities and systems of treatment and control (and related

appurtenances).

       67.     BCWSA did not conduct adequate preventative maintenance, including

failing to regularly seal and/or line its sewers, perform root control, clean and maintain

collection systems, conveyance systems, and manholes. These failures have contributed to

excessive infiltration and inflow of rainwater into the sewer system, a contributing factor to

SSOs. BCWSA has failed to undertake adequate corrective measures to eliminate such SSOs.

Additionally, BCWSA has acquired certain of its sewage systems or taken responsibility for

operating them but has not adequately characterized the condition of the acquisitions to identify

conditions that can cause SSOs.

       68.     The history of SSOs in BCWSA’s sewage systems, is further evidence of poor

operation and maintenance. Many SSOs were due to blockages, broken pipes, tree root




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infiltration, and the accumulation of fats, oil, and grease, all indicative of operation and

maintenance practices below industry standards.

       69.     BCWSA’s history of sanitary sewer backups, i.e., wastewater backups into

buildings caused by blockages or other malfunctions in BCWSA’s collection system, is likewise

indicative of BCWSA’s failure to properly operate and maintain its sanitary sewer system in

accordance with its permits, the Clean Streams Law, and the regulations promulgated,

thereunder. Such sanitary sewer backups expose residents to viruses, bacteria and other

pathogens when they come into contact with raw sewage creating a significant public health risk.

       70.     Pursuant to Sections 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

Sections 601, 605, and 611 of the Clean Streams Law, 35 P.S. §§ 691.601, 691.605, and

691.611, and Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14, BCWSA is liable for

permanent injunctive relief and for civil penalties.

       71.     BCWSA is liable for civil penalties of up to $32,500 per day for each violation

occurring between April 1, 2008 and January 11, 2009, of up to $37,500 per day for each

violation occurring after January 12, 2009 and through November 2, 2015, and up to $54,833 per

day where penalties are assessed on or after January 15, 2019, pursuant to CWA section 309(d),

33 U.S.C. § 1319(d), and 40 C.F.R. § 19.4 (as adjusted over time as required by the Federal Civil

Penalties Inflation Adjustment Act of 1990 (28 U.S.C. § 2461 note; Pub. L. 101-410), as

amended by the Debt Collection Improvement Act of 1996, and most recently, by the Federal

Civil Penalties Inflation Adjustment Act Improvements Act of 2015 (28 U.S.C. § 2461 note;

Pub. L.114-74, Section 701); and for civil penalties of up to $10,000 per day for such Clean

Streams Law violations, pursuant to Section 605 of the Clean Streams Law, 35 P.S. § 691.605.




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       72.      Unless enjoined by an order of the Court, BCWSA will continue to discharge

pollutants and/or operate its sewage systems in a manner not authorized by its permits and/or

in violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a), and of Sections 3, 201, 202,

401, and 402 of the Clean Streams Law, 35 P.S. §§ 691.3, 691.201, 691.202, 691.401, and

691.402, and Section 14 of the Sewage Facilities Act, 35 P.S. § 750.14, and 25 Pa. Code

§ 91.34.

                                   PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs the United States of America and the Commonwealth of

 Pennsylvania respectfully request that this Court provide the following relief:

           1.    A permanent injunction enjoining Defendant BCWSA from any and all

 ongoing and future violations of the CWA and the Clean Streams Law by ordering

 compliance with the CWA and the Clean Streams Law;

           2.    A permanent injunction directing Defendant BCWSA to take all steps

 necessary to come into permanent and consistent compliance with the prohibition on

 unpermitted dischargesand/or operate its sewage systems in a manner consistent with

 its permits and in accordance with Section 301(a) of the CWA and in Sections 3, 201, 202,

 401, 402, 601, and 611 of the Clean Streams Law, 35 P.S. §§ 691.3, 691.201, 691.202,

 691.401, 691.402, 601.601, and 691.611, and Section 14 of the Sewage Facilities Act, 35

 P.S. § 750.14, and 25 Pa. Code § 91.34;

           3.    A judgment assessing civil penalties against Defendant BCWSA and in

 favor of the United States and the Commonwealth of Pennsylvania, of up to $32,500 per

 day for each violation occurring between April 1, 2008 and January 11, 2009, of up to



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 $37,500 per day for each violation occurring after January 12, 2009 and through November

 2, 2015, and up to $54,833 per day where penalties are assessed on or after January 15,

 2019, pursuant to CWA section 309(d), 33 U.S.C. § 1319(d), and 40 C.F.R. § 19.4 (as

 adjusted over time as required by the Federal Civil Penalties Inflation Adjustment Act of

 1990 (28 U.S.C. § 2461 note; Pub. L. 101-410), as amended by the Debt Collection

 Improvement Act of 1996, and most recently, by the Federal Civil Penalties Inflation

 Adjustment Act Improvements Act of 2015 (28 U.S.C. § 2461 note; Pub. L.114-74, Section

 701); and for civil penalties of up to $10,000 per day for such Clean Streams Law

 violations, pursuant to Section 605 of the Clean Streams Law, 35 P.S. § 691.605;

        4.      Order Defendant BCWSA to mitigate the effects of each of its violations;

        5.      Award the United States and the Commonwealth of Pennsylvania

 their costs and disbursements in this action; and

        6.      Grant to the United States and the Commonwealth of Pennsylvania

 such other and further relief as this Court deems appropriate.

Dated: December 22, 2021                             Respectfully submitted,

                                                     JENNIFER ARBITTIER WILLIAMS
                                                     United States Attorney

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